                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA




VICTOR CAGARA ORTIGUERRA,                                                    22-cv-309
                                                           CIVIL ACTION NO. _____________
DONATO MANALILI AGUSTIN,
AMADO TRANATE YUZON,
CHRISTOPHER ESCALANTE RAYOS,
ARVIN BANZON SAN PEDRO, and                                COLLECTIVE ACTION
WILFREDO BATONG SATUROS,                                   PURSUANT TO 29 U.S.C. § 216(b)

               Plaintiffs
                                                           JURY TRIAL DEMANDED
v.

GRAND ISLE SHIPYARD, LLC., and
GIS, LLC,

               Defendants




                                         COMPLAINT

       NOW INTO COURT, through undersigned counsel, come Plaintiffs Victor Cagara

Ortiguerra, Donato Manalili Agustin, Amado Tranate Yuzon, Chistopher Escalante Rayos, Arvin

Banzon San Pedro, and Wilfredo Baton Saturos (collectively, “Plaintiffs”), on their own behalf

and on behalf of those similarly situated and allege as follows:

                            I.      PRELIMINARY STATEMENT

       1.      Plaintiffs are skilled welders and/or fitters who worked for Grand Isle Shipyard

LLC and GIS, LLC (collectively, “Defendants”) in and around Galliano, Louisiana at various

times from 2006 until 2021.
       2.      Plaintiffs and other similarly situated workers routinely worked or were on call

upwards of ninety hours per week, but Defendants did not pay them the minimum wage and

overtime wage required by the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §§ 206 and 207.

                               II.   JURISDICTION AND VENUE

       3.       This action alleges the violation of rights under the Fair Labor Standards Act

(hereafter “FLSA”). Thus, the predominant action herein is within the subject-matter jurisdiction

in this Court, pursuant to 28 U.S.C. §1331.

       4.      The Court has personal jurisdiction over Defendants since they regularly conduct

business in the State of Louisiana, and therefore have minimum contacts with the State of

Louisiana.

       5.      Venue lies in this Court over these claims pursuant to 28 U.S.C. § 1391(b) and (c)

because a substantial part of the events or omissions giving rise to the claim occurred in the Eastern

District of Louisiana.

                                         III.    PARTIES

       A.      Plaintiffs

       6.      Plaintiff Victor Cagara Ortiguerra (“Ortiguerra”) is a resident of Florida who

Defendants employed as a welder from November 2019 until May 2021. While Ortiguerra worked

for Defendants, he was a resident of the State of Louisiana.

       7.      Ortiguerra’s written consent to join this FLSA collective action is attached as

Exhibit A to this complaint.

       8.      Plaintiff Donato Manalili Agustin (“Agustin”) is a resident of Florida who

Defendants employed as a fitter in 2008 and again from June 2018 until January 2021. While

Agustin worked for Defendants, he was a resident of the State of Louisiana.



                                                  2
       9.      Agustin’s written consent to join this FLSA collective action is attached as Exhibit

B to this complaint.

       10.     Plaintiff Amado Tranate Yuzon (“Yuzon”) is a resident of Florida who Defendants

employed as a welder from 2006 until May 2021. While Yuzon worked for Defendants, he was a

resident of the State of Louisiana.

       11.     Yuzon’s written consent to join this FLSA collective action is attached as Exhibit

C to this complaint.

       12.     Christopher Escalante Rayos (“Rayos”) is a resident of Florida who Defendants

employed as a welder from October 2019 until May 2021. While Rayos worked for Defendants,

he was a resident of the State of Louisiana.

       13.     Rayos’s written consent to join this FLSA collective action is attached as Exhibit

D to this complaint.

       14.     Arvin Banzon San Pedro (“San Pedro”) is a resident of Florida who Defendants

employed as a fitter from March 2007 until May 2021. While San Pedro worked for Defendants,

he was a resident of the State of Louisiana.

       15.     San Pedro’s written consent to join this FLSA collective action is attached as

Exhibit E to this complaint.

       16.     Wilfredo Baton Saturos (“Saturos”) is a resident of Florida who Defendants

employed as a welder from June 2018 until February 2021. While Saturos worked for Defendants,

he was a resident of the State of Louisiana.

       17.     Saturos’s written consent to join this FLSA collective action is attached as Exhibit

F to this complaint.




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       18.     Plaintiffs are among over 50 nationals of the Philippines who worked for the

Defendants with B-1 visas as welders, fitters, painters/riggers/blasters, cooks, mechanics, and

housekeepers/laundrymen in the Eastern District of Louisiana (collectively, “B-1 workers”).

       19.     Like Plaintiffs, the other B-1 workers resided at Defendants’ Lafourche Parish,

Louisiana work camp and at various times also worked offshore under the same or similar wage

payment scheme, which resulted in minimum wage and overtime underpayments.

       20.     Pursuant to 29 U.S.C. § 216(b), and as set forth in detail below, Plaintiffs seek to

assert their claims individually and on behalf of all of those similarly situated, who (1) are currently

employed by Defendants and/or who have been employed by Defendants any time in the last three

years, and (2) are Philippine nationals who were present in the United States with B-1 visas and

employed by the Defendants.

       21.     Defendant Grand Isle Shipyard, LLC. (“GI Shipyard”) is a Louisiana Limited

Liability Company domiciled in Galliano, Louisiana and headquartered at 18838 Highway 3235,

Galliano, LA 70354, in the Eastern District of Louisiana.

       22.     Upon information and belief, GI Shipyard maintains and repairs oil rigs in the Gulf

of Mexico, housing many of its 200-plus employees, when onshore, in a converted bowling alley

in Lafourche Parish, Louisiana.

       23.     According to Louisiana Secretary of State records, Daniel St. Germaine is the

Registered Agent for GI Shipyard, with the same address as the GI Shipyard headquarters.

       24.     Defendant GIS, LLC (“GIS”) is a Washington Limited Liability Company

registered with the Louisiana Secretary of State as a Foreign Limited Liability Company. GIS’s

principal business office is 18838 Highway 3235, Galliano, LA 70354, in the Eastern District of

Louisiana.



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       25.     According to Louisiana Secretary of State records, Daniel St. Germaine is the

Registered Agent for GIS, with the same address as the GIS business office.

       26.     Upon information and belief, GIS maintains and repairs oil rigs in the Gulf of

Mexico, housing many of its employees, when onshore, in a converted bowling alley in Lafourche

Parish, Louisiana.

       27.     At all relevant times, Defendants were “employers” of Plaintiffs and other similarly

situated workers within the meaning of the FLSA.

       28.     At all relevant times, Plaintiff and other similarly situated workers were individual

employees engaged in performing activities within the meaning of 29 U.S.C. § 203(r) as required

by 29 U.S.C. §§ 206, 207.

       29.     At all relevant times, Defendants “employed” Plaintiffs and other similarly situated

workers within the meaning of the FLSA.

       30.     At all relevant times, Plaintiffs and other similarly situated workers were engaged

in commerce or in the production of goods for commerce within the meaning of the FLSA, 29

U.S.C. §§ 203(b) and (j).

       31.     At all times relevant to this Complaint, Defendants have been an enterprise engaged

in commerce or in the production of goods for commerce within the meaning of the FLSA, 29

U.S.C. § 203(s), in that Defendants operate an enterprise that has employees engaged in commerce

or production of goods for commerce and that has annual gross revenues that exceed $500,000.00.

29 U.S.C. § 203(s)(1)(A).




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                             IV.     FACTUAL BACKGROUND

       32.     According to Plaintiffs’ and other similarly situated workers employment

contracts,1 Defendants were to pay Plaintiffs a “Basic Monthly Salary.”

       33.     For example, the “Basic Monthly Salary” amount in the Plaintiffs’ 2021

employment contracts was $1,640.00.

       34.     Plaintiffs and other similarly situated workers did not receive their “Basic Monthly

Salary” amount “free and clear.”

       35.     According to Plaintiffs’ and other similarly situated workers’ employment

contracts, Defendants were to pay Plaintiffs “Vacation Leave with Pay.”

       36.     For example, the “Vacation Leave with Pay” amount in the Plaintiffs’ 2021

employment contracts was $246.00 per month.

       37.     Plaintiffs and other similarly situated workers did not receive their “Vacation Leave

with Pay” amount “free and clear.”

       38.     According to Plaintiffs’ and other similarly situated workers’ employment

contracts, Defendants were to pay an “Overtime” rate to the Plaintiffs and other similarly situated

workers.

       39.     For example, the “Overtime” rate in the Plaintiffs’ 2021 employment contract was

$15.375 per hour.

       40.     Plaintiffs and other similarly situated workers did not receive their “Overtime” rate

“free and clear.”




1
 Plaintiff uses the term “contract” herein as shorthand to refer to the referenced documents.
Plaintiff contends the documents do not constitute enforceable contracts.


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         41.    Defendants did not pay Plaintiffs and other similarly situated workers their wages

“free and clear” as required by the FLSA. 29 C.F.R. § 531.32. Rather, Defendants paid Plaintiffs

and other similarly situated workers only twenty percent of their wages.

         42.    Plaintiffs and other similarly situated workers regularly worked over 70 hours per

week while offshore and were on call all day, every day, while living in Defendants’ labor camp.

         43.    Defendants did not pay Plaintiffs and other similarly situated workers full overtime

premiums at a rate of time-and-a-half for every hour worked and/or on call over 40 hours in a

workweek.

         44.    Defendants paid the remainder of Plaintiffs’ and other similarly situated workers’

wages to DNR Offshore and Crewing Services, Inc. (“DNR”), a labor broker based in the

Philippines. DNR in turn took substantial deductions out of the Plaintiff’s and other similarly

situated workers’ wages and paid the balance to Plaintiffs’ and other similarly situated workers’

family members in the Philippines.

         45.    For example, the workweek of December 29, 2020 to January 4, 2021, Plaintiff

Agustin’s wage statement indicates he worked 46 hours,2 his regular (non-overtime) pay was

$404.60 (40 hours at $10.12 per hour), and his overtime pay was $91.08 (6 hours at $15.18 per

hour). Under Defendants’ wage payment scheme, Agustin would have received only 20 percent

of these wages “free and clear.” Therefore, his regular pay rate would have been $2.02 per hour,

and his overtime pay rate would have been $3.04 per hour; both substantially below the FLSA

minimum wage and the FLSA-mandated overtime pay rate based on Agustin’s regular rate of pay.




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    Plaintiffs dispute that their wage statements accurately reflect their work hours.
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        46.     When Plaintiffs and other similarly situated workers were not working on rigs or

getting transported to and from rigs, they were required to stay in the Defendants’ labor camp or,

when quarantined because of a COVID19 infection, on a moored barge.

        47.     Plaintiffs and other similarly situated workers were not allowed to leave the labor

camp or quarantine barge on their own.

        48.     The only time the Plaintiffs and other similarly situated workers were allowed to

leave the labor camp was (a) when Defendants’ drivers took them to a local Walmart in a twelve-

passenger van about three times per week; and (b) when Defendants’ drivers took them to Houma,

Louisiana to make purchases shortly before the workers departed to the Philippines.

        49.     B-1 workers who attempted to leave the labor camp on their own were fired or

blacklisted.

        50.     B-1 workers who were on the quarantine barge were not allowed to leave.

        51.     Because the Plaintiffs and other similarly situated workers were required to remain

on-call on the Defendants’ premises during non-work hours (or, when they left, the were required

to remain under Defendants’ control), Defendants were required to pay Plaintiffs FLSA-required

minimum wage and overtime premiums for these hours.

        52.     Defendants did not pay Plaintiffs and other similarly situated workers FLSA-

required minimum wage or overtime premiums for on-call hours.

                            FLSA COLLECTIVE ACTION ALLEGATIONS

        53.     Plaintiffs brings their FLSA claims on behalf of themselves and those individuals

who may opt into this action pursuant to 29 U.S.C. § 216(b) and who were not paid required wages

at the Defendants’ operations between February 9, 2019 and the date of preliminary approval of

the opt-in class.



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       54.     Plaintiffs and other workers were subject to the same policies and practices of the

Defendants.

       55.     Plaintiffs and other workers worked offshore and, while onshore, resided at

Defendants’ labor camp in Lafourche Parrish, Louisiana.

       56.     Plaintiffs and other workers were nationals of the Philippines employed at

Defendants’ operations with B-1 visas having an “OCS” (outer continental shelf) designation.

       57.     Common proof applicable to Plaintiffs and the other workers in this location will

show that Defendants failed to properly pay wages to Plaintiffs and other similarly situated

workers.

       58.     Plaintiffs are currently unaware of the identities of all the employees who would be

members of the FLSA opt-in class, but this information is readily ascertainable from Defendants’

records. Defendants therefore should be required to provide Plaintiffs with a list—including last

known addresses, telephone numbers, and email addresses—of all individuals who (1) were

Philippine nationals with B-1 visas and (2) worked out of Defendants’ Lafourche Parish camp

between February 9, 2019 and the present.

                                 V.      CAUSE OF ACTION

                                            COUNT 1
                                   VIOLATIONS OF THE FLSA

       59.     Plaintiffs incorporates by reference and re-allege each and every allegation

contained above as though fully set forth herein.

       60.     Defendants willfully and intentionally failed to pay the minimum wage to Plaintiffs,

and to other similarly situated workers who opt into this action, for every hour they worked and

were on call between February 9, 2019 and the present.




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       61.     Defendants’ failure to pay the minimum wage violates the Fair Labor Standards

Act, 29 U.S.C. § 206(a) and its implementing regulations.

       62.     Defendants also willfully and intentionally failed to pay Plaintiffs and other

similarly situated workers who opt into this action overtime at a rate of at least one-and-a-half

times the legally required wage for every hour they worked above 40 hours in a workweek between

February 9, 2019 and the present.

       63.     Defendants’ failure to pay overtime premiums violates the FLSA, 29 U.S.C. §

207(a), and its implementing regulations.

       64.     Further, Section 211 of the FLSA further requires employers to keep accurate

records of data related to their employees’ “wages, hours, and other conditions and practice of

employment.” 29 U.S.C. § 211(a), (c).

       65.     Upon information and belief, Defendants failed and/or refused to document the

total hours Plaintiffs worked and/or were on call each workweek, Plaintiffs’ total overtime

earnings for the work week, and all additions to or deductions from Plaintiffs’ wages.

       66.     Plaintiffs and other similarly situated workers who opt into this action are therefore

entitled to their unpaid minimum wages and overtime premiums, plus an equal amount in

liquidated damages, as a consequence of Defendants’ unlawful acts and omissions, in accordance

with 29 U.S.C. § 216(b).

                           VI.      DEMAND FOR TRIAL BY JURY

       67.     Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs hereby

demands a trial by jury on all questions of fact raised by this Complaint.




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                             V.      PRAYER FOR RELIEF

   WHEREFORE, Plaintiffs, and those similarly situated, pray that this Court enter an Order:

a. assuming jurisdiction over this action;

b. declaring this action to be maintainable as a FLSA collective action pursuant to 29 U.S.C.

   § 216, allowing Plaintiffs to provide notice of this action to potential opt-in plaintiffs, and

   allowing those eligible similarly situated workers who choose to do so to opt-in to this

   action;

c. declaring that the Defendants violated the FLSA;

d. permanently enjoining Defendants from further violations of the FLSA;

e. granting judgment to Plaintiffs, and to other similarly situated workers who opt in

   pursuant to 29 U.S.C. § 216(b), on their FLSA claims and awarding each of them their

   unpaid minimum wages and overtime premiums plus an equal amount in liquidated

   damages;

f. awarding prejudgment and postjudgment interest as allowed by law;

g. awarding Plaintiffs and other similarly situated workers their costs and reasonable

   attorneys’ fees; and

h. granting such further relief as this Court finds just.

             Respectfully submitted this day: February 9, 2022,


                                                   ______/s/ Kenneth C. Bordes_____
                                                    Kenneth C. Bordes (Bar #35668)
                                                    Kenneth C. Bordes,
                                                    Attorney at Law, LLC
                                                    4224 Canal St.
                                                    New Orleans, LA 70119
                                                    P: 504-588-2700
                                                    F: 504-708-1717
                                                    E: kcb@kennethbordes.com

                                             11
     Daniel Werner (GA Bar #422070)
     Radford & Keebaugh, LLC
     315 W. Ponce de Leon Ave., Suite 1080.
     Decatur, GA 30030
     P: 678-271-0300
     F: 678-271-0304
     E: dan@decaturlegal.com
     (pro hac vice motion forthcoming)


     Attorneys for Plaintiffs




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                                                                 A
                       ENGLISH:
   CONSENT TO SUE UNDER THE FAIR LABOR STANDARDS ACT

I am a current or former employee of Grand Isle Shipyard, Inc. and/or GIS,
LLC in Galliano, Louisiana. I consent to be a party Plaintiff in an action
under the Fair Labor Standards Act ("FLSA") against Grand Isle Shipyard,
Inc., GIS, LLC and/or related entitles and individuals to recover my
unpaid minimum wage and overtime pay and all other damages as
allowed by the FLSA.

Signature: _________________________________________________

Full Name: ________________________________________________

Date: _____________________________________________________


                     TAGALOG:
KONSENTO NA MAG-SUE SA ILALIM NG FAIR LABOR STANDARDS
                         ACT

Ako ay kasalukuyan o dating empleyado ng Grand Isle Shipyard, Inc. at/o
GIS, LLC. sa Galliano, Louisiana. Sumasang-ayon ako na maging isang
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nabayarang minimum na sahod at dagdag na bayad sa obertaym at lahat
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Lagda: ___________________________________________________

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